                              Case 6:23-cv-00575-ADA Document 1-16 Filed 08/07/23 Page 1 of 1
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SXUSRVHRILQLWLDWLQJWKHFLYLOGRFNHWVKHHW(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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Patent Armory Inc.                                                                                     Google LLC

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                              (EXCEPT IN U.S. PLAINTIFF CASES)                                                                 (IN U.S. PLAINTIFF CASES ONLY)
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    F $WWRUQH\V(Firm Name, Address, and Telephone Number)                                              $WWRUQH\V(If Known)
Rabicoff Law LLC
600 Mamaroneck Ave STE 400, Harrison, NY 10528
7736694590
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                                                                                                    (For Diversity Cases Only)                                        and One Box for Defendant)
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        3ODLQWLII                         (U.S. Government Not a Party)                        &LWL]HQRI7KLV6WDWH         u     u         ,QFRUSRUDWHGor3ULQFLSDO3ODFH        u       u 
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u  86*RYHUQPHQW              u  'LYHUVLW\                                              &LWL]HQRI$QRWKHU6WDWH          u     u     ,QFRUSRUDWHGand3ULQFLSDO3ODFH      u       u 
        'HIHQGDQW                         (Indicate Citizenship of Parties in Item III)                                                            RI%XVLQHVV,Q$QRWKHU6WDWH

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u 1HJRWLDEOH,QVWUXPHQW               /LDELOLW\          u +HDOWK&DUH                                                                                  u 6WDWH5HDSSRUWLRQPHQW
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      ([FOXGHV9HWHUDQV         u 0DULQH3URGXFW                  /LDELOLW\                                                 u 7UDGHPDUN                      &RUUXSW2UJDQL]DWLRQV
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u )RUHFORVXUH                u 9RWLQJ                  u $OLHQ'HWDLQHH                 ,QFRPH6HFXULW\$FW                RU'HIHQGDQW             u )UHHGRPRI,QIRUPDWLRQ
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                                       35 U.S.C. 271, et seq.
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